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                          Exhibit 17

          Excerpts from the Transcript
         of the Deposition of Steven M.
         Menzies, dated March 27, 2024
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                              Steven Menzies
                              March 27, 2024

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· · · · · · UNITED STATES DISTRICT COURT

· · · · · · · DISTRICT OF MASSACHUSETTS

· · ·---------------------------------------------X
· · ·SPARTA INSURANCE COMPANY (as successor in
· · ·interest to Sparta Insurance Holdings, Inc.),

· · · · · · · · · · · Plaintiff,

· · · · · · · · · · · · · Case no. 21-11205-FDS

· · · · · · · · · · · v.

· · ·PENNSYLVANIA GENERAL INSURANCE COMPANY (now
· · ·known as Pennsylvania Insurance Company),
·
· · · · · · · · · · · Defendants.
· · ·---------------------------------------------X

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· · · · · · · · VIDEOTAPED DEPOSITION

· · · · · · · · · · · · · OF

· · · · · · · · · · STEVEN MENZIES

· · · · · · · WEDNESDAY, MARCH 27, 2024

· · · · · · · · · · HELD REMOTELY

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· · ·Reported by:
· · ·CANDIDA BORRIELLO
· · ·JOB NO. 6555348-001


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·1· · · · · · · · · · S. Menzies

·2· ·deposition, have you ever seen Exhibit

·3· ·Number 1 before?

·4· · · · A.· ·No, not that I can recall.

·5· · · · Q.· ·Turning to Exhibit Number 2, before

·6· ·today, have you ever seen Exhibit Number 2

·7· ·before?

·8· · · · A.· ·No, I don't recall ever having seen

·9· ·this document.

10· · · · Q.· ·Turning to Exhibit Number 5, before

11· ·today's deposition, have you ever seen

12· ·Exhibit Number 5 before?

13· · · · A.· ·No, I can't recall ever having seen

14· ·this document.

15· · · · Q.· ·Turning to Exhibit Number 6, before

16· ·today's deposition, have you ever seen

17· ·Exhibit Number 6 before?

18· · · · A.· ·Yes.

19· · · · Q.· ·When was the first time you saw

20· ·Exhibit Number 6?

21· · · · A.· ·I believe I signed it, so I

22· ·would've seen it then.

23· · · · Q.· ·Between the time that you signed it

24· ·and today, have you reviewed Exhibit Number 6

25· ·at any point in time?


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·1· · · · · · · · · · S. Menzies

·2· · · · A.· ·Yes, I reviewed a few pages of it

·3· ·with counsel.

·4· · · · Q.· ·Other than your review with

·5· ·counsel, between today and the date which you

·6· ·signed Exhibit 6, have you otherwise reviewed

·7· ·Exhibit 6?

·8· · · · A.· ·No, not that I can recall.

·9· · · · Q.· ·Prior to signing Exhibit 6, did you

10· ·review any drafts of the document that

11· ·ultimately became Exhibit Number 6?

12· · · · A.· ·No, not that I can recall.

13· · · · Q.· ·Did you read Exhibit Number 6

14· ·before you signed it?

15· · · · A.· ·No, not that I can recall.

16· · · · Q.· ·Do you customarily sign documents

17· ·that you don't review?

18· · · · A.· ·It depends on the circumstance.

19· · · · Q.· ·Do you customarily sign documents

20· ·to acquire companies without reading them?

21· · · · A.· ·Again, it would depend upon the

22· ·circumstance.

23· · · · Q.· ·Can you think of any other

24· ·circumstance in which you signed a document

25· ·to acquire a company without reading it?


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·1· · · · · · · · · · S. Menzies

·2· · · · · · ·MR. KAPLAN:· I'm going to object

·3· · · · as beyond the scope, but I will allow

·4· · · · him to answer the question.

·5· · · · A.· ·I rely on my general counsel to

·6· ·prepare and review documents.· He tells me

·7· ·what we're doing and I rely on his judgment.

·8· ·And based upon that, I will sign stock

·9· ·purchase agreements as needed.

10· · · · Q.· ·And you will sign those stock

11· ·purchase agreements as needed without reading

12· ·them first, is that your testimony?

13· · · · A.· ·Yes.

14· · · · Q.· ·Do you sign annual reports without

15· ·reading them?

16· · · · · · ·MR. KAPLAN:· Objection to the form

17· · · · and beyond the scope.

18· · · · · · ·I'm also going to instruct you not

19· · · · to answer that as beyond the scope.

20· · · · · · ·MR. CLARK:· I'll take the

21· · · · instruction.· I'll say I disagree with

22· · · · it and we can come back to it later if

23· · · · we need to, Mr. Kaplan.· But I'm

24· · · · trying to understand his pattern and

25· · · · practice given the testimony he just


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·1· · · · · · · · · · S. Menzies

·2· · · · testified concerning his signing of

·3· · · · the operative 2012 SPA, but we can

·4· · · · come back to that a little bit later.

·5· · · · Q.· ·Turning to within Exhibit 6,

·6· ·Mr. Menzies, if you turn to page 47 of that

·7· ·document, there's a signature block for North

·8· ·American Casualty Co.

·9· · · · · · ·My question to you will be, is that

10· ·your signature on Exhibit 6?

11· · · · A.· ·Yes.

12· · · · Q.· ·You also -- strike that.

13· · · · · · ·Turning to Exhibit 7.· Before

14· ·today, have you ever seen Exhibit 7 before?

15· · · · A.· ·No, not that I can recall.

16· · · · Q.· ·You can put this binder aside for a

17· ·few minutes, Mr. Menzies, but of course feel

18· ·free to consult it if you need to.

19· · · · · · ·I'd like to turn your attention to

20· ·Exhibit X which we'll mark as Exhibit 173.

21· · · · · · ·(Exhibit 173, Defendant's Answer

22· · · · to Plaintiff's Second Amended

23· · · · Complaint, was marked for

24· · · · identification.)

25· · · · · · ·MR. KAPLAN:· Sorry, what number,


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·1· · · · · · · · · · S. Menzies

·2· ·other and that effectively takes concept of

·3· ·my question out of it, so I'm gonna ask it

·4· ·again, sir.· Mine isn't one way or the other,

·5· ·it's an only one way question.

·6· · · · · · ·Are you or are you not suggesting

·7· ·that PGIC is bound to the terms of the

·8· ·written contract that you signed in 2012?

·9· · · · · · ·MR. KAPLAN:· Objection to the

10· · · · form.· Asked and answered.· Calls for

11· · · · a legal conclusion.

12· · · · A.· ·I made no suggestions at all.

13· · · · Q.· ·So, you agree that the contract

14· ·that you signed in 2012 on behalf of North

15· ·American Casualty should be enforced

16· ·according to its terms?

17· · · · · · ·MR. KAPLAN:· Objection to the

18· · · · form.· Misstates the testimony.· Calls

19· · · · for a legal conclusion.

20· · · · A.· ·Could you read back the question,

21· ·please?

22· · · · Q.· ·Sure.

23· · · · · · ·Did you agree that the contract

24· ·that you signed in 2012 on behalf of North

25· ·American Casualty should be enforced


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·1· · · · · · · · · · S. Menzies

·2· ·according to its terms?

·3· · · · · · ·MR. KAPLAN:· Same objections.

·4· · · · A.· ·I don't know the context.· I'm not

·5· ·sure how to answer.

·6· · · · Q.· ·When you signed the 2012 contract,

·7· ·you expected that North American Casualty

·8· ·would receive certain things and that it

·9· ·would do certain things as spelled out in the

10· ·written contract, right?

11· · · · · · ·MR. KAPLAN:· Objection to the

12· · · · form.

13· · · · A.· ·I don't have any knowledge of

14· ·what's in -- specific knowledge of what's in

15· ·the contracts.· I can't really answer.

16· · · · Q.· ·You just signed it and it says what

17· ·it says?

18· · · · · · ·MR. KAPLAN:· Objection to the

19· · · · form.

20· · · · A.· ·Yes, I -- the document was prepared

21· ·by counsel, I trust his judgment.· He told me

22· ·what we were doing, we were buying a clean

23· ·shell and I signed the document.

24· · · · Q.· ·Why didn't North American Casualty

25· ·hire outside legal counsel to advise in


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·1· · · · · · · · · · S. Menzies

·2· ·connection with the acquisition of PGIC?

·3· · · · · · ·MR. KAPLAN:· Objection.

·4· · · · · · ·One second, Mr. Menzies.

·5· · · · · · ·Objection to the form and to the

·6· · · · extent you know, Mr. Menzies, and to

·7· · · · the extent that your answer depends

·8· · · · upon the conversations with legal

·9· · · · counsel, your in-house legal counsel,

10· · · · I'd instruct you not to answer.

11· · · · However, to the extent that you know

12· · · · and you -- and it's not based on legal

13· · · · advice provided to you by your

14· · · · counsel, you can answer the question.

15· · · · A.· ·Prior to this question, I have no

16· ·knowledge whether we had outside counsel or

17· ·not.· So, I don't -- I don't have any

18· ·information on this.

19· · · · Q.· ·Approximately how much time did you

20· ·personally spend reviewing due diligence

21· ·materials in connection with the acquisition

22· ·of PGIC?

23· · · · A.· ·I did not, I was not part of the

24· ·due diligence process.

25· · · · Q.· ·Do you know approximately how much


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 ·1· · · · · · · · · · S. Menzies

 ·2· · · · · · · C E R T I F I C A T E

 ·3

 ·4· ·STATE OF NEW YORK· · · ·)
 · · · · · · · · · · · · · ·:· SS.:
 ·5· ·COUNTY OF RICHMOND· · · )

 ·6

 ·7· · · · · ·I, CANDIDA BORRIELLO, a Notary

 ·8· ·Public for and within the State of New York,

 ·9· ·do hereby certify:

 10· · · · · ·That the witness, STEVEN MENZIES,

 11· ·whose examination is hereinbefore set forth

 12· ·was duly sworn and that such examination is a

 13· ·true record of the testimony given by that

 14· ·witness.

 15· · · · · ·I further certify that I am not

 16· ·related to any of the parties to this action

 17· ·by blood or by marriage and that I am in no

 18· ·way interested in the outcome of this matter.

 19· · · · · ·IN WITNESS WHEREOF, I have hereunto

 20· ·set my hand this 8th day of April, 2024.

 21

 22· · · · · · · ·__________________________
 · · · · · · · · · · · CANDIDA BORRIELLO
 23

 24

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